        Case 1:21-cv-00667-JLT Document 20 Filed 09/16/21 Page 1 of 1


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 7                                 UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

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10    DAMARIS ROMAN, et al.,                            1:21-cv-00667-NONE-JLT
11                       Plaintiffs,                    NEW CASE NUMBER:
12           v.                                         1:21-cv-00667-JLT
13    AMAZON.COM SERVICES LLC,                          ORDER REASSIGNING CASE
14                       Defendants.
15
            All parties in the above-captioned case have consented to magistrate judge jurisdiction
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     over this action for all purposes, including trial and entry of final judgment, pursuant to 28 U.S.C.
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     § 636(c)(1). (Doc. No. 19) Accordingly, this court reassigns this action to the docket of United
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     States Magistrate Judge Jennifer L. Thurston for all further proceedings, including trial and entry
19
     of judgment, pursuant to 28 U.S.C. § 636(c)(1).
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            To prevent a delay in documents being received by the correct judicial officer, the new
21
     case number listed below should be used on all future documents filed in this action.
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                                             1:21-cv-00667-JLT
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24   IT IS SO ORDERED.
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        Dated:     September 15, 2021
26                                                      UNITED STATES DISTRICT JUDGE

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